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   IT IS ORDERED as set forth below:



   Date: April 19, 2018
                                                       _________________________________

                                                                  Sage M. Sigler
                                                           U.S. Bankruptcy Court Judge

  ________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                              :           CHAPTER 11
                                       :
   RITA ANN ROSE                       :
                                       :           CASE NO. 15-71563-SMS
                                       :
                                       :
                           Debtor      :
   ________________________________________________________________________


   ORDER GRANTNG INTERIM FEE APPLICATION FOR DEBTOR’S COUNSEL




            Debtor’s counsel filed its Interim Application for Chapter 11 Legal Fees (“Fee
   Application”) on November 3, 2017 (Doc. No. 100). All parties were served and none
   filed an objection.
            On December 7 2017, Debtor’s counsel Howard P. Slomka, Esq. appeared. It is
   accordingly:
            ORDERED that Debtor’s counsel is entitled to fees and costs in the amount of
   $29,865.00 as stated in the Fee Application. Debtor’s counsel is authorized to disburse
   $20,002.00 from its trust account and to collect the remainder from Debtor.
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          IT IS FURTHER ORDERED that counsel for Debtor shall promptly serve a copy
   of this Order and Notice upon all creditors and parties in interest and shall file the
   appropriate certificate of service with this Court within three (3) business days thereafter.

                                          END OF DOCUMENT


   Prepared by:

   ____/s/________
   Howard P. Slomka
   Georgia Bar No. 652875
   Attorney for Debtor
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